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                         UNITED STATES DISTRICT COURT

                             DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                       )
                                                )
      Plaintiff,                                )
                                                )
v.                                              )      No. 93-CV-1134-BRB/LFG
                                                )
CIBOLA COUNTY, NEW MEXICO;                      )
CIBOLA COUNTY BOARD OF                          )
COMMISSIONERS; EDWARD                           )
MICHAEL; ANTONIO GALLEGOS;                      )
PATRICK E. SIMPSON; T. WALTER                   )
JARAMILLO; and LLOYD FELIPE,                    )
Members of the Cibola County Board of           )
Commissioners; and ELISA BRO, Cibola            )
County Clerk,                                   )
                                                )
      Defendants.                               )


         ORDER EXTENDING AND MODIFYING STIPULATION AND ORDER



      After considering the parties’ Joint Motion for and Memorandum in Support of Order

Extending and Modifying Stipulation and Order, filed July 6, 2009 (Doc. # 105), and the

Revised Amended Fourth Joint Stipulation attached to the Joint Motion to Substitute Revised

Amended Fourth Joint Stipulation, filed September 25, 2009 (Doc. # 109 – Attachment A),

and good cause appearing, the Revised Amended Fourth Joint Stipulation is hereby entered

and extended through March 15, 2011. Defendants are directed to come into substantial

compliance with the Voting Rights Act by that date.
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       The Court shall retain jurisdiction of this case to enter further relief or such other

orders as may be necessary for the effectuation of the terms of this agreement and to ensure

compliance with Sections 2 and 203 of the Voting Rights Act, and the Fourteenth and

Fifteenth Amendments to the Constitution.

       Accordingly, the parties’ Joint Motion for Order Extending and Modifying Stipulation

and Order (Doc. # 105) is GRANTED.


                                          Entered for the Court
                                          this 8th day of October, 2009




                                          Bobby R. Baldock
                                          United States Circuit Judge



                                          John E. Conway
                                          Senior United States District Judge



                                          C. Leroy Hansen
                                          Senior United States District Judge




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